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AO 245 S (Rev. /90}( WN Ala rev. ) Sheet l - Jud gment in a Criminal Case

HLM

UNITED STATES DISTRICT COUR'I'

Western District of Tennessee (]5;;_;3?€26 p._;`-‘i ,-'-:q.
s.;sw.i ;f¢. ;‘-. ' 3
UNITED sTATES oF AMERICA C!Ei~;z,< !,=S. 03 .,T.
Plaj_l'ltiff, "N..D GF iN, lJ'!iL'..NipHIS
VS. Case Number 2:0lCR20164-02-D

JACK R. HOGELAND
Defendant.

JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or After November 1, 1987}

The defendant, Jack R. Hogeland, Was represented by Needum.Louis Germany, III, Esq.

It appearing that the defendant, Who Was convicted on April 4, 2002, in the above
styled cause and was placed on Supervised Release for a period of three (3) years and has
violated the terms of Supervised Release.

lt is hereby ORDERED and ADJUDGED that the defendant is hereby sentenced to Time
Served.

FURTHERMORE, the defendant's conditions of Supervised Release remain as previously
imposed, set to expire as originally scheduled.

signed this thea?,~$"#` day Of April, 2005.

ICE B. DON LD
ITED STATES DISTRICT JUDGE

 

Defendant's SS No.: XXX-XX-XXXX

Defendant's Date of Birth: 09/02/1961

U.S. Marshal No.: 17862-076

Defendant's Mailinq Address: 1284 Mathes, Atoka, TN 38004

   

UNITED `sETATSDISTRIC COURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 133 in
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Honorable Bernice Donald
US DISTRICT COURT

